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 1 KRISTA HART
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 3 (916) 498-8398
 4 Attorney for Defendant
   Maria Santa
 5
 6
 7
                         IN THE UNITED STATES DISTRICT COURT
 8
                        FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10
     UNITED STATES,                     )            No. Cr.S. 08-468 MCE
11                                      )
                Plaintiff,              )
12                                      )            STIPULATION AND PROPOSED
           v.                           )            ORDER RESETTING THE
13                                      )            STATUS CONFERENCE TO:
     MARIA SANTA,                       )
14   VIRGIL SANTA,                      )
     CANDIT SAVA,                       )            DATE: July 30, 2009
15   GEORGIY TIMOFEY,                   )            TIME: 9:00 a.m.
                                        )            The Honorable Morrison C. England
16              Defendants.             )
     __________________________________ )
17
18         Defendants by and through their respective counsel and the United States
19 (government) by and through counsel Assistant U.S. Attorney Matt Stegman stipulate and
20 agree the status conference currently set for June 11, 2009, should be reset to July 30,
21 2009, at 9:00 a.m.
22         The parties stipulate and agree the time from June 11, 2009, up to and including
23 July 30, 2009, should be excluded in computing the time within which the trial of the
24 above criminal prosecution must commence for purposes of the Speedy Trial Act. The
25 parties stipulate that the ends of justice are served by the Court excluding such time, so
26 that counsel for the government and the defendant may have reasonable time necessary
27
28                                               1
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 1 for effective preparation, taking into account the exercise of due diligence. 18 U.S.C. §
 2 3161(h)(8)(B)(iv) (Local Code T4).
 3         To date the government has provided 5,571 pages of discovery. While the case
 4 has been pending since March 18, 2008, a majority of the discovery, 3,742 pages, was
 5 provided in April and May of this year. Counsel for all defendants are still in the process
 6 of reviewing the discovery and conducting investigations. Additionally, attorney Chris
 7 Haydn-Myer was recently appointed on March 23, 2009. Therefore, the additional time
 8 is necessary for attorney preparation and all parties agree the exclusion of time pursuant
 9 to Local Code T-4 is appropriate.
10
11 Dated: June 9, 2009                               /s/ Krista Hart
                                                     Attorney for Maria Santa
12
     Dated: June 9, 2009                             /s/ John Balazs
13                                                   Attorney for Virgil Santa
14 Dated: June 9, 2009                               /s/ Jeff Staniels
                                                     Attorney for Candit Sava
15
     Dated: June 9, 2009                             /s/ Chris Haydn-Myer
16                                                   Attorney for Georgiy Timofey
17
     Dated: June 9, 2009                             LAWRENCE BROWN
18                                                   Acting United States Attorney
19                                                   /s/ Matt Stegman
                                                     Assistant U.S. Attorney
20
21
                                             ORDER
22 It is so ordered.
23
      Dated: June 9, 2009
24
                                              ________________________________
25                                            MORRISON C. ENGLAND, JR.
                                              UNITED STATES DISTRICT JUDGE
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28                                               2
